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                        CERTIFICATE OF SERVICE


      The undersigned hereby certifies that the foregoing document was
served on the individual listed below:


                         ELECTRONIC SERVICE

                         Kathryn Rakoczy, Esquire
                          Assistant U.S. Attorney
                          555 Fourth Street, NW
                          Washington, DC 20530
                        kathryn.rakoczy@usdoj.gov




Date: 28 January 2022                    /s/ Jonathan W. Crisp
                                         Jonathan W. Crisp, Esquire
                                         4031 North Front St.
                                         Harrisburg, PA 17110
                                         I.D. # 83505
                                         (717) 412-4676
                                         jcrisp@crisplegal.com
                                         Attorney for Defendant
